Case 0:18-cv-62593-DPG Document 277 Entered on FLSD Docket 03/25/2020 Page 1 of 10
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                                                                                                             AP
                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                                                                                          Mar 25, 2020
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303
                                                                                                                  MIAMI
   David J. Smith                                                                     For rules and forms visit
   Clerk of Court                                                                     www.ca11.uscourts.gov


                                           March 25, 2020

   Clerk - Southern District of Florida
   U.S. District Court
   400 N MIAMI AVE
   MIAMI, FL 33128-1810

   Appeal Number: 19-11932-DD
   Case Style: Federal Trade Commission v. Steven Dorfman
   District Court Docket No: 0:18-cv-62593-DPG

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Lois Tunstall
   Phone #: (404) 335-6191

   Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
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                              UNITED STATES COURT OF APPEALS
                                    For the Eleventh Circuit
                                        ______________

                                            No. 19-11932
                                           ______________

                                       District Court Docket No.
                                         0:18-cv-62593-DPG

   FEDERAL TRADE COMMISSION,

                                                      Plaintiff - Appellee,

   versus

   SIMPLE HEALTH PLANS, LLC,
   a Florida Limited Liability Company, et al.,

                                                      Defendants,

   STEVEN J. DORFMAN,
   Individually and as an officer, member or manager
   of Simple Health Plans LLC, Health Benefits One LLC,
   Health Center Management LLC, Innovative Customer Care LLC,
   Simple Insurance Leads LLC and Senior Benefits One LLC,

                                                Defendant - Appellant.
                          __________________________________________

                          Appeal from the United States District Court for the
                                     Southern District of Florida
                          __________________________________________

                                             JUDGMENT

   It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
   entered as the judgment of this Court.

                                      Entered: February 05, 2020
                            For the Court: DAVID J. SMITH, Clerk of Court
                                            By: Jeff R. Patch




   ISSUED AS MANDATE 03/25/2020
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                                                          [DO NOT PUBLISH]



                  IN THE UNITED STATES COURT OF APPEALS

                           FOR THE ELEVENTH CIRCUIT
                             ________________________

                                   No. 19-11932
                               Non-Argument Calendar
                             ________________________

                         D.C. Docket No. 0:18-cv-62593-DPG



   FEDERAL TRADE COMMISSION,

                                                  Plaintiff - Appellee,

   versus

   SIMPLE HEALTH PLANS, LLC,
   a Florida Limited Liability Company, et al.,

                                                  Defendants,

   STEVEN J. DORFMAN,
   Individually and as an officer, member or manager
   of Simple Health Plans LLC, Health Benefits One LLC,
   Health Center Management LLC, Innovative Customer Care LLC,
   Simple Insurance Leads LLC and Senior Benefits One LLC,

                                                  Defendant - Appellant.
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                              ________________________

                      Appeal from the United States District Court
                          for the Southern District of Florida
                            ________________________

                                    (February 5, 2020)



   Before ROSENBAUM, EDMONDSON, and MARCUS, Circuit Judges.



   PER CURIAM:



         Steven Dorfman appeals the district court’s order granting -- pursuant to

   section 13(b) of the Federal Trade Commission Act, 15 U.S.C. § 53(b) -- the

   Federal Trade Commission’s (“FTC”) motion for a preliminary injunction and for

   ancillary relief, including an asset freeze and appointment of a receiver. No

   reversible error is shown; we affirm.

         In October 2018, the FTC filed a complaint against Dorfman and against six

   companies, each of which was under Dorfman’s control (collectively,

   “Defendants”). The FTC alleged that Defendants engaged in unfair and deceptive

   trade practices in violation of section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and

   engaged in deceptive telemarketing practices in violation of the FTC’s

   Telemarking Sales Rule, 16 C.F.R. § 310.3. The FTC sought injunctive relief as

   well as disgorgement, restitution, rescission, and reformation.
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         Together with its complaint, the FTC also moved for a temporary restraining

   order (“TRO”), an asset freeze, a temporary receivership over the six companies

   named as defendants, and an order to show cause why a preliminary injunction

   should not issue. On 31 October 2018, the district court entered the TRO and

   granted the asset freeze and the receivership.

         In May 2019 -- following an evidentiary hearing -- the district court issued a

   46-page order granting a preliminary injunction. Briefly stated, the district court

   determined that Defendants -- online and through telemarketing calls -- had

   engaged in a “classic bait and switch scheme” whereby Defendants misled

   consumers into believing Defendants were selling comprehensive health insurance

   coverage when, in reality, Defendants were selling only limited indemnity plans or

   medical discount memberships. Between 2014 and 2018, the scheme generated

   $180 million in revenue.

         The district court concluded that preliminary injunctive relief was

   appropriate because the FTC had demonstrated (1) that the FTC was likely to

   succeed on the merits of its claims against Defendants, including against Dorfman

   individually and (2) that injunctive relief was in the public interest. The district

   court ordered the continued freeze on Defendants’ assets to preserve the

   availability of funds for consumer redress. The district court also ordered the




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   permanent appointment of a receiver for the six corporate Defendants “to preserve

   assets and maintain the status quo.”

         We review the grant of a preliminary injunction for abuse of discretion.

   FTC v. IAB Mktg. Assocs. LP, 746 F.3d 1228, 1232 (11th Cir. 2014). We review

   an asset freeze under the same abuse-of-discretion standard. Id. We review de

   novo the district court’s legal conclusions. Id.

         As an initial matter, Dorfman raises no challenge to the district court’s

   factual findings or to the district court’s determination that the FTC satisfied its

   burden of showing that a preliminary injunction was warranted in this case.

   Dorfman contends, instead, that the district court exceeded its authority under

   section 13(b) of the FTC Act by issuing the TRO and by granting preliminary

   injunctive relief and preliminary ancillary relief -- including the asset freeze and

   the appointment of a receiver -- designed to preserve assets in the event the FTC

   prevails on its claims for monetary relief.

         Section 13(b) of the FTC Act provides that a court may grant a TRO or a

   preliminary injunction against defendants in an action brought by the FTC “[u]pon

   a proper showing that, weighing the equities and considering the Commission’s

   likelihood of ultimate success, such action would be in the public interest . . . .” 15

   U.S.C. § 53(b). Courts may also issue a permanent injunction in appropriate cases.

   Id.


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         Dorfman contends that the FTC lacks authority to seek disgorgement or

   restitution: monetary remedies that Dorfman says constitute “legal remedies” and

   “punitive measures” unavailable under section 13(b). Dorfman’s argument is

   foreclosed by this Court’s binding precedent. We have said expressly that “the

   unqualified grant of statutory authority to issue an injunction under section 13(b)

   carries with it the full range of equitable remedies, including the power to grant

   consumer redress and compel disgorgement of profits.” FTC v. Gem Merch.

   Corp., 87 F.3d 466, 468 (11th Cir. 1996). A district court is also authorized under

   section 13(b) to “order preliminary relief, including an asset freeze, that may be

   needed to make permanent relief possible.” Id. at 469; IAB Mktg. Assocs. LP, 746

   F.3d at 1234-35; FTC v. U.S. Oil & Gas Corp., 748 F.2d 1431, 1433-34 (11th Cir.

   1984).

         Dorfman acknowledges that his argument is contrary to this Court’s section

   13(b) precedent, but argues that our precedent has been “substantially undermined”

   by the Supreme Court’s decision in Kokesh v. SEC, 137 S. Ct. 1635 (2017), and by

   this Court’s decision in SEC v. Graham, 823 F.3d 1357 (11th Cir. 2016). Kokesh

   and Graham, however, each involved a question about the applicability of a statute

   of limitations to disgorgement claims in an enforcement action brought by the U.S.

   Securities and Exchange Commission (“SEC”). That Kokesh and Graham make




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   no express rulings about the FTC Act or about the remedies authorized under

   section 13(b) is undisputed.

         Following a precedent and extending a precedent are entirely different

   things. Although Kokesh and Graham involved a different statutory scheme and a

   different agency, Dorfman contends we should overrule our section 13(b)

   precedent based upon the “reasoning” in Kokesh and in Graham. Our prior panel

   precedent rule makes clear that subsequent panels are bound to follow a prior

   panel’s decision on an issue unless and until the first panel’s holding “is overruled

   or undermined to the point of abrogation by the Supreme Court or by this court

   sitting en banc.” EEOC v. Exel, Inc., 884 F.3d 1326, 1332 (11th Cir. 2018).

   “[T]hat the reasoning of an intervening high court decision is at odds with that of

   our prior decision is no basis for a panel to depart from our prior decision”: the

   intervening Supreme Court decision must be “clearly on point.” Atl. Sounding Co.

   v. Townsend, 496 F.3d 1282, 1284 (11th Cir. 2007). “[O]bedience to a Supreme

   Court decision is one thing, extrapolating from its implications a holding on an

   issue that was not before that Court in order to upend settled circuit law is another

   thing.” Id.

         Under our prior panel precedent rule, we remain bound by our decisions in

   U.S. Oil & Gas Corp., Gem Merch. Corp., and in IAB Mktg. Assocs. LP. These

   cases are dispositive of this appeal. The district court abused no discretion in


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   granting the FTC’s motion for a preliminary injunction, an asset freeze, and

   receivership.

         Dorfman also contends he was denied his Seventh Amendment right to a

   jury trial. Because this appeal involves only the granting of preliminary relief --

   and no final determination on the merits -- we reject this argument as premature.

         AFFIRMED.




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                                           UNITED STATES COURT OF APPEALS
                                              FOR THE ELEVENTH CIRCUIT

                                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                            56 Forsyth Street, N.W.
                                                            Atlanta, Georgia 30303


   David J. Smith                                                                                                  For rules and forms visit
   Clerk of Court                                                                                                  www.ca11.uscourts.gov


                                                         February 05, 2020

    MEMORANDUM TO COUNSEL OR PARTIES

    Appeal Number: 19-11932-DD
    Case Style: Federal Trade Commission v. Steven Dorfman
    District Court Docket No: 0:18-cv-62593-DPG

    This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF") system,
    unless exempted for good cause. Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this
    day been entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP 41(b).

    The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for rehearing
    en banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate filings, a petition for
    rehearing or for rehearing en banc is timely only if received in the clerk's office within the time specified in the rules.
    Costs are governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for attorney's fees and
    an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

    Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list of all
    persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-1. In
    addition, a copy of the opinion sought to be reheard must be included in any petition for rehearing or petition for
    rehearing en banc. See 11th Cir. R. 35-5(k) and 40-1 .

    Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time spent on
    the appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of a petition for
    writ of certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
    cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

    Pursuant to Fed.R.App.P. 39, costs taxed against appellant.

    Please use the most recent version of the Bill of Costs form available on the court's website at www.ca11.uscourts.gov.

    For questions concerning the issuance of the decision of this court, please call the number referenced in the signature
    block below. For all other questions, please call Bradly Wallace Holland, DD at 404-335-6181.

    Sincerely,

    DAVID J. SMITH, Clerk of Court

    Reply to: Jeff R. Patch
    Phone #: 404-335-6151

                                                                                        OPIN-1A Issuance of Opinion With Costs
